     Case 3:20-cv-04151-WHO Document 399-1 Filed 04/01/24 Page 1 of 2



 1    Scott D. Baker (SBN 84923)
      sbaker@reedsmith.com
 2    Jonah D. Mitchell (SBN 203511)
      jmitchell@reedsmith.com
 3
      REED SMITH LLP
 4    101 Second Street, Suite 1800
      San Francisco, CA 94105
 5    Telephone: 415-543-8700
      Facsimile: 415-391-8269
 6

 7    Cameron D. Clawson (SBN 318779)
      cameron.clawson@klarquist.com
 8    Kristin L. Cleveland (SBN 184639)
      kristin.cleveland@klarquist.com
 9    Caroline L. Desmond (Pro Hac Vice)
      caroline.desmond@klarquist.com
10    Klaus H. Hamm (SBN 224905)
11    klaus.hamm@klarquist.com
      Shelby A. Stepper (Pro Hac Vice)
12    Shelby.stepper@klarquist.com
      John D. Vandenberg (Pro Hac Vice)
13    john.vandenberg@klarquist.com
      Mark W. Wilson (Pro Hac Vice)
14    mark.wilson@klarquist.com
15    KLARQUIST SPARKMAN, LLP
      121 SW Salmon Street, Suite 1600
16    Portland, OR 97204
      Telephone: 503-595-5300
17    Facsimile: 503-595-5301
18
      Attorneys for Defendant
19    Siemens Industry Software Inc.

20                               UNITED STATES DISTRICT COURT

21                              NORTHERN DISTRICT OF CALIFORNIA
22                                     SAN FRANCISCO DIVISION
23
      SYNOPSYS, INC.,                             Case No. 3:20-cv-04151-WHO (LB)
24
                   Plaintiff,                     [PROPOSED] ORDER GRANTING
25                                                DEFENDANT’S UNOPPOSED
             v.                                   ADMINISTRATIVE MOTION FOR
26                                                LEAVE TO FILE STATEMENT OF
      SIEMENS INDUSTRY SOFTWARE INC.,             RECENT DECISION
27
                   Defendant.
28


     [PROPOSED] ORDER GRANTING MOTION FOR LEAVE                 CASE NO. 3:20-cv-04151-WHO (LB)
     Case 3:20-cv-04151-WHO Document 399-1 Filed 04/01/24 Page 2 of 2



 1            Pending before the court is Defendant Siemens Industry Software Inc.’s Unopposed
 2   Administrative Motion for Leave to File Statement of Recent Decision. Having considered
 3   Defendant’s Unopposed Motion and finding compelling reasons in support:
 4            IT IS HEREBY ORDERED:
 5            Defendant’s Motion for Leave is GRANTED.
 6

 7   Dated:
                                                  The Honorable William H. Orrick
 8                                                United States District Judge Kristin L.
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



     [PROPOSED] ORDER GRANTING MOTION FOR LEAVE           -1-     CASE NO. 3:20-cv-04151-WHO (LB)
